                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


GUIDECRAFT, INC.,                               )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )      CIVIL ACTION NO. _________
                                                )
OJCOMMERCE, LLC, a Delaware                     )
corporation; OJCOMMERCE.COM, INC.,              )
a Delaware corporation; NAOMI HOME,             )
INC., a Delaware corporation; and               )
JACOB WEISS, an individual,                     )
                                                )

       Defendants.

                                      COMPLAINT
                    ______________________________________________



       Plaintiff, Guidecraft, Inc., by its attorneys and for its Complaint, alleges as

follows:


                                NATURE OF THE ACTION


       1.      This is an action in law and equity for, inter alia, intentional trademark and

copyright infringement and deceptive business practices.


THE PARTIES


       2.      Plaintiff, Guidecraft, Inc. (“Guidecraft”) is a New York Corporation having a

place of business at State Highway 19, Winthrop, Minnesota 55396.
       3.     Upon information and belief, defendant Jacob Weiss (“Weiss”) or

("Defendant") owns, operates, or controls multiple entities, including OJCommerce,

LLC, OJCommerce.com, Inc., and Naomi Home, Inc.           Upon information and belief,

defendant Jacob Weiss is an individual having a principal place of business at 11651

Interchange Circle South, Miramar, Florida 33025.


       4.     Upon information and belief, defendant OJCommerce, LLC is a Delaware

corporation having a principal place of business at 11651 Interchange Circle South,

Miramar, Florida 33025.


       5.     Upon information and belief, defendant OJCommerce.com, Inc. is a

Delaware corporation having a principal place of business at 11651 Interchange Circle

South, Miramar, Florida 33025.


       6.     Upon information and belief, defendant Naomi Home, Inc. is a Delaware

corporation having an address at 1811 Silverside Road, Wilmington, Delaware 19810.


       7.     Defendants OJCommerce, LLC, OJCommerce.com, Inc., and Naomi

Home, Inc. may be served with summons and process through their mutually

designated registered agent for service of process in Delaware, VCorp Services, LLC at

1013 Centre Road, Suite 403-B, Wilmington, Delaware 19805.


                              JURISDICTION AND VENUE


       8.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331

and 28 U.S.C. § 1338. This matter involves a federal question pursuant to 15 U.S.C.

§§ 1114, 1125(a).      Diversity jurisdiction is established as this controversy arises

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between citizens of different states and involves an amount in controversy in excess of

the jurisdictional threshold of 28 U.S.C. § 1332. Additionally, supplemental jurisdiction

over the state statutory and common law claims exists pursuant to 28 U.S.C. §§

1338(b) and 1367(a).

      9.      Personal jurisdiction over Defendant Weiss is proper in this Court under

the principles of due process and Pennsylvania’s Long Arm Statute because, upon

information and belief, Defendant Weiss conducts business within the Commonwealth

of Pennsylvania and this judicial district.


      10.     Personal jurisdiction over Defendant OJCommerce, LLC is proper in this

Court under the principles of due process and Pennsylvania’s Long Arm Statute

because, upon information and belief, Defendant OJCommerce, LLC conducts business

within the Commonwealth of Pennsylvania and this judicial district.


      11.     Personal jurisdiction over Defendant OJCommerce.com, Inc. is proper in

this Court under the principles of due process and Pennsylvania’s Long Arm Statute

because, upon information and belief, Defendant OJCommerce.com, Inc. conducts

business within the Commonwealth of Pennsylvania and this judicial district.


      12.     Personal jurisdiction over Defendant Naomi Home, Inc. is proper in this

Court under the principles of due process and Pennsylvania’s Long Arm Statute

because Defendant Naomi Home, Inc. conducts business within the Commonwealth of

Pennsylvania and this judicial district.


      13.     Venue in this Court is based upon 28 U.S.C. §§ 1391.



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                              FACTUAL BACKGROUND

       14.    As set forth below, Defendants have damaged Guidecraft and continue to

cause Guidecraft harm by, among other improprieties, confusing the public and diluting

Guidecraft’s protected intellectual property through their continued use of Guidecraft

trademarks, Guidecraft’s trade dress, and Guidecraft’s copyright protected product

designs.



                          The Infringed Intellectual Property

       15.   Guidecraft has developed a very successful children’s stool that permits a

child to work with a parent or guardian at counter level. Guidecraft manufactures and

markets that children’s stool and sells that children’s stool under its KITCHEN

HELPER® Trademark, which is registered with the United States Patent and

Trademark Office. Guidecraft has devoted many thousands of hours to experimenting,

testing, and perfecting KITCHEN HELPER® children’s stools that function well, are

beautiful, are safe for use by children, and store easily when not in use. Through those

efforts, Guidecraft has developed a children’s stool that is highly sought after in the

marketplace and widely recognized in connection with its KITCHEN HELPER®

Trademark.

       16.   Defendants OJCommerce.com, Inc., OJCommerce, LLC, and Weiss have

sold thousands of units of the KITCHEN HELPER® line of Guidecraft children’s stools

as a reseller for Guidecraft. During their time as Guidecraft resellers

OJCommerce.com, Inc., OJCommerce, LLC, and Weiss learned that the KITCHEN



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HELPER® trademark was well recognized and respected in the marketplace.

OJCommerce.com, Inc., OJCommerce, LLC, and Weiss also learned much about the

form of the KITCHEN HELPER® line of Guidecraft children’s stools and became well

aware of Guidecraft’s success with the KITCHEN HELPER® product forms during their

time as Guidecraft resellers.

       17.       Guidecraft has also spent a great deal of time developing and selling its

Step-Up children’s stool. The Step-Up children’s stool has also become highly sought

after in the marketplace due to its safety, beauty, and functionality.

       18.       Defendants OJCommerce.com, Inc., OJCommerce, LLC, and Weiss have

sold thousands of units of Guidecraft Step-Up children’s stools as resellers for

Guidecraft. OJCommerce.com, Inc., OJCommerce, LLC, and Weiss also learned

much about the success of the Guidecraft Step-Up children’s stool product form during

their time as Guidecraft resellers.

       19.       Guidecraft has also spent a great deal of time developing and selling its

High-Rise Step-Up children’s stool. The High-Rise Step-Up children’s stool has also

become highly sought after in the marketplace due to its safety, beauty, and

functionality.

       20.       Defendants OJCommerce.com, Inc., OJCommerce, LLC, and Weiss have

also sold thousands of units of the High-Rise Step-Up children’s stools as resellers for

Guidecraft. During their time as a Guidecraft reseller, OJCommerce.com, Inc.,

OJCommerce, LLC, and Weiss learned much about the success of the Guidecraft

High-Rise Step-Up children’s stool product form during their time as Guidecraft

resellers.



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                               Trademark Infringement

       21.   Guidecraft has spent a great deal of time and resources developing the

Kitchen Helper brand for its children’s stools and is the owner of United States

Trademark Registration No. 5,265,613 for KITCHEN HELPER in connection with non-

metal step stools, portable non-metal platforms enclosed by guard rails or panels and

adapted for supporting a standing child and the goodwill associated therewith.

Guidecraft has made the Registered KITCHEN HELPER Trademark distinctive and

brought it recognition throughout the United States and much of the world through a

multifaceted Internet and catalog based marketing campaign for a high quality, child

friendly, and parent friendly product. A copy of the trademark registration is attached

hereto as Exhibit A.

       22.   Safety is a critical aspect of Guidecraft’s KITCHEN HELPER® children’s

stools and consumers associate the KITCHEN HELPER® Trademark with the safety-

oriented Guidecraft children’s stools. Guidecraft has worked closely with the United

States Consumer Product Safety Commission (the “USCPSC”) to meet and exceed the

rigorous safety tests dictated by the USCPSC in the high end children’s market where

safety is of supreme importance.

       23.   OJCommerce.com, Inc., OJCommerce, LLC, Naomi Home, Inc., and their

owner Jacob Weiss have unlawfully used and are currently unlawfully using

Guidecraft’s Registered KITCHEN HELPER® Trademark in the United States of

America.




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       24.   OJCommerce.com, Inc., OJCommerce, LLC, Naomi Home, Inc. and their

owner Jacob Weiss have unlawfully used and are currently unlawfully using

Guidecraft’s Registered KITCHEN HELPER® Trademark in connection with knock-off

products made to appear to be Guidecraft products.

       25.   Defendants’ use of Guidecraft’s Registered KITCHEN HELPER®

Trademark (see Exhibits B and C) constitutes trademark infringement in violation of

U.S. and state trademark law.

       26.   Defendants’ use of Guidecraft’s Registered KITCHEN HELPER®

Trademark in connection with the sale, offering for sale, advertising, and distribution of

goods included in the Registration of Guidecraft’s KITCHEN HELPER® Trademark

constitutes a false designation of origin that is likely to cause confusion or mistake or to

deceive consumers into believing that Defendants’ goods are associated with

Guidecraft and to deceive consumers into believing that Defendants’ goods are

sponsored, approved, or authorized by Guidecraft.

       27.   On information and belief, Defendants have acted with full knowledge that

Guidecraft owns the Registration for the KITCHEN HELPER® Trademark and

Defendants have acted willfully and intentionally to misrepresent their products as

being affiliated with Guidecraft.

       28.   Regardless of intent, Defendants’ infringing use of Guidecraft’s Registered

KITCHEN HELPER® Trademark has caused consumers actual confusion and mistake,

and is likely to cause such confusion and mistake, as to the source of Defendants’

goods.




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       29.   Defendants have unlawfully used and continue to unlawfully use and

misappropriate the goodwill and reputation Guidecraft has established in Guidecraft’s

Registered KITCHEN HELPER® Trademark in such a way that consumers have been

and are likely to continue to be lured to purchase Defendants’ products with the

mistaken belief that Defendants’ goods are Guidecraft goods or have an affiliation,

sponsorship, or other connection with Guidecraft.

       30.   Guidecraft has been and will continue to be damaged by Defendants’

foregoing acts of infringement, misappropriation, unfair competition, deceptive trade

practices, and false advertising.



                               Trade Dress Infringement

       31.   Defendants’ use of Guidecraft’s designs (see Exhibits B and C) constitutes

trade dress infringement in violation of U.S. trademark law. Below are pictures of

representative Guidecraft and Defendant children’s stool products (see also Exhibits B

and C):




              Guidecraft                              Defendants

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              Guidecraft                             Defendants




              Guidecraft                             Defendants



       32.   Guidecraft has spent tremendous time and resources developing the

uniquely aesthetic, non-functional design that is associated with its KITCHEN

HELPER® children’s stools, as well as the uniquely aesthetic, non-functional designs




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 that are associated with Guidecraft’s Step-Up and High-Rise Step-Up children’s stools

 and has trade dress protection in those designs.

       33.    The Guidecraft KITCHEN HELPER® children’s stool design includes, but

 is not limited to, the non-functional features of the positioning of four large cut-out

 shapes in the sides of the classic version (see, e.g., top left picture from Paragraph 31

 above) of the KITCHEN HELPER® children’s stools, the half-moon shape cut into the

 side below the standing platform, stylized tapered, two-toed feet at the base of each of

 the legs, the visual flow and shape of the walls and bars surrounding and below the

 platform, the colors in which the KITCHEN HELPER®, Step-Up, and High-Rise Step-

 Up children’s stools are sold, and the overall appearance of the KITCHEN HELPER®

 children’s stools.

       34.    The non-functional design of the KITCHEN HELPER® children’s stools

 has become known to the public through years of Guidecraft’s advertising and

 significant sales, acquiring secondary meaning to the public and serving to designate

 to consumers that Guidecraft is the origin of those children’s stools.

       35.    The Guidecraft Step-Up children’s stool design (see left picture in second

 row of pictures provided under Paragraph 31 above) includes, but is not limited to, the

 non-functional features of the shape of the upper and lower cut-outs in the sides of the

 Step-Up children’s stools, and the positioning of those cut-outs in the sides of the Step-

 Up children’s stools, the curvature of the uprights on the climbing side of the Step-Up

 children’s stools, the side-toe at the base of the front legs and only the front legs of the

 Step-Up children’s stools, the visual flow and shape of the upright side-members, the




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 shape and placement of the finger slots in the tops of the side-members, and the

 overall appearance of the Step-Up children’s stools.

       36.    The non-functional design of the Step-Up children’s stools has become

 known to the public through years of Guidecraft’s advertising and significant sales,

 acquiring secondary meaning to the public and serving to designate to consumers that

 Guidecraft is the origin of those children’s stools.

       37.    The Guidecraft High-Rise Step-Up children’s stool design (see left picture

 in third row of pictures from Paragraph 31 above) includes, but is not limited to, the

 non-functional features of the large curved and open hand grips, the position of the

 large curved and open hand grips at the top of the High-Rise Step-Up children’s stools,

 the similarly sized top and bottom steps, the curvature of the support under each step,

 the open side uprights along the first step and closed side uprights along the second

 step, the angularity of the side uprights rising up to the curved and open hand grips,

 the shape and flow of the side uprights, the side-toe at the base of the front legs and

 only the front legs of the of the High-Rise Step-Up children’s stools, the visual flow and

 shape of the High-Rise Step-Up stools, and the overall appearance of the High-Rise

 Step-Up children’s stools.

       38.    The non-functional design of the High-Rise Step-Up children’s stools has

 become known to the public through years of Guidecraft’s advertising and significant

 sales, acquiring secondary meaning to the public and serving to designate to

 consumers that Guidecraft is the origin of those children’s stools.

       39.    Defendants have unlawfully used and are currently unlawfully using

 Guidecraft’s trade dress protected children’s stool designs in the United States.



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        40.   Defendants have unlawfully used and are currently unlawfully using

 Guidecraft’s trade dress protected children’s stool designs on knock-off products made

 to appear to be Guidecraft goods or have an affiliation, sponsorship, or other

 connection with Guidecraft.

        41.   Defendants’ use of Guidecraft’s trade dress protected designs (see

 Exhibits B and C) constitutes trade dress infringement in violation of U.S. trademark

 law.

        42.   Defendants have used and continue to use Guidecraft’s trade dress

 protected designs on knock-off children’s stools of inferior quality to take sales from

 Guidecraft and profit from such infringing sale of goods.

        43.   Defendants’ willful and persistent use of Guidecraft’s trade dress protected

 appearances of its children’s stools has given rise to imminent and irreversible harm.



                                 Copyright Infringement

        44.   Defendants’ use of Guidecraft’s designs (see Exhibits B and C) constitutes

 copyright infringement in violation of U.S. copyright law.

        45.   Guidecraft has spent a great deal of time and resources developing a

 highly desirable appearance for its KITCHEN HELPER® children’s stools and is the

 owner of United States Copyright Application for Registration No. 1-6843395721 for the

 appearance of the Kitchen Helper® children’s stool.

        46.   Guidecraft has also spent a great deal of time and resources developing

 the highly desirable appearance of its Step-Up and High-Rise Step-Up children’s stools




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 and is the owner of unregistered United States Copyrights for the appearance of the

 Step-Up and High-Rise Step-Up children’s stools children’s stool.

       47.    Defendants have unlawfully used and are currently unlawfully using

 Guidecraft’s copyright protected children’s stool designs in the United States.

       48.    Defendants have unlawfully used and are currently unlawfully using

 Guidecraft’s copyright protected children’s stool designs on knock-off products made to

 appear to be Guidecraft products.

       49.    Defendants’ use of Guidecraft’s copyright protected children’s stool

 designs (see Exhibits B and C) constitutes copyright infringement in violation of U.S.

 copyright law.

       50.    Defendants have used and continue to use Guidecraft’s copyright

 protected designs on knock-off children’s stools of inferior quality to take sales from

 Guidecraft and profit from such infringing sale of goods.

       51.    Defendants’ willful and persistent use of Guidecraft’s copyright protected

 children’s stools appearances has given rise to imminent and irreversible harm.



                    COUNT ONE –– TRADEMARK INFRINGEMENT –

                          15 U.S.C. § 1114 (LANHAM ACT § 32)



       52.    The allegations contained in the foregoing paragraphs are re-alleged and

 incorporated as if fully set forth herein.

       53.    Defendants’ continued use of Guidecraft’s KITCHEN HELPER®

 Trademark, United States Trademark Registration No. 5,265,613, constitutes an



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 infringement of Guidecraft’s Registered Trademark and is likely to have and to continue

 to cause confusion, mistake, and deception to the public as to the identity and origin of

 Guidecraft’s goods, causing irreparable harm to Guidecraft for which there is no

 adequate remedy at law.

       54.    Guidecraft has incurred attorneys’ fees to enforce its trademark, and

 Guidecraft has suffered damages as a result of Defendants’ actions.

       55.    Defendants are liable to Guidecraft for trademark infringement under 15

 U.S.C. § 1114 in an amount to be determined at trial.

       56.    Defendants’ acts of infringement have been and continue to be deliberate,

 willful, and wanton, making this an exceptional case under 15 U.S.C. § 1117.

       57.    Plaintiff is entitled to a permanent injunction against Defendants, as well

 as other remedies under the Lanham Act, including but not limited to compensatory

 damages, disgorgement of Defendants’ profits, costs of this action, attorneys’ fees, and

 treble damages.



 COUNT TWO – UNFAIR COMPETITION AND FALSE DESIGNATION OF ORIGIN –

                          15 U.S.C. § 1125 (LANHAM ACT § 43)



       58.    The allegations contained in the foregoing paragraphs are re-alleged and

 incorporated as if fully set forth herein.

       59.    The Registered KITCHEN HELPER® Trademark, as used by Guidecraft in

 connection with its goods, is a distinctive mark and has become associated with

 Guidecraft and thus exclusively identifies Guidecraft’s children’s stools.



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       60.    Defendants’ continued use of Guidecraft’s Registered Trademark to

 promote, market, or sell its knock-off products in direct competition with Guidecraft

 products constitutes unfair competition and false designation of origin pursuant to 15

 U.S.C. § 1125(a).

       61.    Defendants have used and continue to use Guidecraft’s trademarked and

 copyrighted design in the operation of Defendants’ retail business.

       62.    Defendants have promoted their products using Guidecraft’s Registered

 Trademark in order to compete directly with Guidecraft.

       63.    Defendants’ continued use of Guidecraft’s Registered Trademark is likely

 to cause confusion, mistake, and deception among consumers.

       64.    Defendants’ unfair competition has caused and will continue to cause

 damage to Guidecraft, including the expenditure of attorneys’ fees, and is causing

 irreparable harm to Guidecraft for which there is no adequate remedy at law.

       65.    Guidecraft is entitled to a permanent injunction against Defendants, as

 well as other remedies under the Lanham Act, including but not limited to

 compensatory damages, disgorgement of Defendants’ profits, costs of this action,

 attorneys’ fees, and treble damages.



                  COUNT THREE – TRADE DRESS INFRINGEMENT –

                          15 U.S.C. § 1125 (LANHAM ACT § 43)



       66.    The allegations contained in the foregoing paragraphs are re-alleged and

 incorporated as if fully set forth herein.



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       67.    The trade dress of the KITCHEN HELPER®, Step-Up, and High-Rise

 Step-Up children’s stools is non-functional.

       68.    The trade dress of the KITCHEN HELPER®, Step-Up, and High-Rise

 Step-Up children’s stools is unique and distinctive and has acquired secondary

 meaning because consumers associate Guidecraft as the source of its children’s stools

 under the Guidecraft trade dress.

       69.    Defendants have used and continue to use Guidecraft’s trade dress

 protected KITCHEN HELPER®, Step-Up, and High-Rise Step-Up children’s stools

 designs in the operation of Defendants’ retail business.

       70.    Defendants’ continued use of Guidecraft’s protected trade dress design of

 children’s stools is likely to confuse, cause mistake, and/or deceive consumers into

 believing that Defendants’ stools are those of Guidecraft, or are affiliated with,

 endorsed by, sponsored by, or otherwise associated with Guidecraft.

       71.    Defendants’ continued use of non-functional designs of Guidecraft’s

 KITCHEN HELPER®, Step-Up, and High-Rise Step-Up children’s stools constitutes

 trade dress infringement in violation of U.S. trademark law under 15 U.S.C. § 1125(a).

       72.    Defendants’ trade dress infringement has caused and will continue to

 cause damage to Guidecraft, including the expenditure of attorneys’ fees, and is

 causing irreparable harm to Guidecraft for which there is no adequate remedy at law.

       73.    Guidecraft is entitled to a permanent injunction against Defendants, as

 well as other remedies under the Lanham Act, including but not limited to

 compensatory damages, disgorgement of Defendants’ profits, costs of this action,

 attorneys’ fees, and treble damages.



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                      COUNT FOUR – COPYRIGHT INFRINGEMENT –

                               17 U.S. Code § 106-120 and 501

       74.    The allegations contained in the foregoing paragraphs are re-alleged and

 incorporated as if fully set forth herein.

       75.    Defendants had access to the Guidecraft KITCHEN HELPER®, Step-Up,

 and High-Rise Step-Up children’s stool designs by virtue of the fact that Defendants

 advertised and sold Guidecraft KITCHEN HELPER®, Step-Up, and High-Rise Step-Up

 children’s stools.

       76.    Guidecraft did not authorize Defendants to reproduce the KITCHEN

 HELPER®, Step-Up, or High-Rise Step-Up children’s stools, did not authorize

 Defendants to display reproductions of the KITCHEN HELPER®, Step-Up, or High-

 Rise Step-Up children’s stools, and did not authorize Defendants to create any

 derivative works based on the KITCHEN HELPER®, Step-Up, or High-Rise Step-Up

 children’s stool designs.

       77.    Upon information and belief, Defendants have knowingly and willfully

 reproduced, displayed, and offered for sale children’s stools that included the

 Guidecraft designs to the public and have created derivative works based on

 Guidecraft’s KITCHEN HELPER®, Step-Up, and High-Rise Step-Up children’s stool

 designs and have displayed and offered those derivative works for sale to the public,

 all in violation of the Copyright Act, 17 U.S.C. § 501.

       78.    Guidecraft has been and will continue to be damaged as a direct and

 proximate cause of Defendant’s copyright infringement in that Guidecraft has been and



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 will be deprived of sales and profits from the sale of its KITCHEN HELPER®, Step-Up,

 and High-Rise Step-Up children’s stool designs. Defendants have also been unjustly

 enriched by their copyright infringement in that Defendants have received and will

 receive sales and profits as a direct and proximate result of Defendant’s unlawful

 conduct. The total damages sustained and to be sustained by Guidecraft and the total

 amount Defendants have been and will be unjustly enriched will be determined at trial.

       79.    Guidecraft is entitled to recover the damages it has sustained and will

 sustain from Defendants in accordance with the Copyright Act, 17 U.S.C. § 504. The

 amount of such damages and profits cannot be fully ascertained by Guidecraft, but will

 be proved at trial.

       80.    Guidecraft is also entitled to its costs and fees pursuant to the Copyright

 Act, 17 U.S.C. § 505.

       81.    Pursuant to the Copyright Act, 17 U.S.C. § 502, Guidecraft is entitled to

 injunctive relief to prevent Defendants from further infringement of Guidecraft’s

 copyrighted KITCHEN HELPER®, Step-Up, and High-Rise Step-Up children’s stool

 designs.



                COUNT FIVE – COMMON LAW UNFAIR COMPETITION



       82.    The allegations contained in the foregoing paragraphs are re-alleged and

 incorporated as if fully set forth herein.

       83.    Defendants have engaged in unfair competition by intentionally using

 Guidecraft’s Registered KITCHEN HELPER® Trademark to hold out their products as



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 those of Guidecraft, or as affiliated with, sponsored by, or otherwise connected with

 Guidecraft. Guidecraft has established that trademark honestly and through a long

 course of fair dealing with the public.

       84.    Defendants’ actions have been willful as evidenced by their plan over a

 period of months to divert business from Guidecraft.

       85.    Defendants’ actions have caused actual deceit and fraud upon the public.

       86.    Guidecraft has been damaged in an amount to be determined at trial.



  COUNT SIX – PENNSYLVANIA UNFAIR TRADE PRACTICES AND CONSUMER

                       PROTECTION LAW – P.S. §§201-1 - 201-9.2



       87.    The allegations contained in the foregoing paragraphs are re-alleged and

 incorporated as if fully set forth herein.

       88.    Defendants passed off their goods as those of Guidecraft, thereby causing

 likelihood of confusion and of misunderstanding as to the source, sponsorship,

 approval or certification of those goods.

       89.    Defendants passed off their goods as those of Guidecraft, thereby causing

 likelihood of confusion and of misunderstanding as to affiliation, connection or

 association with Guidecraft.

       90.    Defendants’ actions are directed to persons and entities including

 Guidecraft’s customers and industry participants.

       91.    Defendants’ actions as described herein constitute unfair trade practices

 within the meaning of P.S. §§201-1 - 201-9.2.



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        92.   Guidecraft has been directly and proximately injured as a result of

 Defendants’ unfair and deceptive trade practices.

        93.   As a result of Defendants’ unfair trade practices, Guidecraft is entitled to

 actual damages, treble damages, and attorneys’ fees pursuant to P.S. §§201-1 - 201-

 9.2.



    COUNT SEVEN – TORTIOUS INTERFERENCE WITH BUSINESS RELATIONS



        94.   The allegations contained in the foregoing paragraphs are re-alleged and

 incorporated as if fully set forth herein.

        95.   Defendants are illegally competing with Guidecraft and interfering with its

 prospective business relations.

        96.   Defendants’ actions involving the sale of children’s stools using

 Guidecraft’s Registered KITCHEN HELPER® Trademark and copyright protected

 children’s stool designs were calculated to cause damage to Guidecraft’s business.

        97.   Defendants have interfered with Guidecraft’s business relationships,

 prospective business relationships, and ability to conduct business.

        98.   As a result of Defendants’ actions, Guidecraft has been damaged in an

 amount to be proven at trial.



                            COUNT EIGHT - UNJUST ENRICHMENT




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       99.     The allegations contained in the foregoing paragraphs are re-alleged and

 incorporated as if fully set forth herein.

       100.    Defendants organized and initiated a competing business to pass-off

 products as those of Guidecraft.

       101.    Defendants misappropriated the brand and appearance of Guidecraft’s

 products to divert business from Guidecraft.

       102.    As a result of the conduct described hereinabove, Defendants have been

 and will continue to be unjustly enriched at the expense and to the detriment of

 Guidecraft.

       103.    By their unlawful actions, Defendants have been unjustly enriched and

 thereby damaged Guidecraft in an amount to be proven at trial.



          COUNT NINE – PENNSYLVANIA TRADEMARK DILUTION LAW –

                                     54 Pa.C.S.A. § 1124



       104.    The allegations contained in the foregoing paragraphs are re-alleged and

 incorporated as if fully set forth herein.

       105.    Guidecraft’s Registered KITCHEN HELPER® Trademark has become

 famous in the Commonwealth of Pennsylvania through its extensive use with

 Guidecraft children’s stools.

       106.    Defendants willfully intended to trade on Guidecraft’s reputation or to

 cause dilution of Guidecraft’s Registered KITCHEN HELPER® Trademark by selling




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 knock-off versions of Guidecraft’s well known children’s stools in connection with

 Guidecraft’s KITCHEN HELPER® mark.

         107.   Guidecraft is entitled to an injunction to restrain Defendants’ manufacture,

 use, display or sale of its infringing products and to Defendants’ profits derived from

 and all damages suffered by reason of such wrongful manufacture, use, display or

 sale.

                            COUNT TEN – PUNITIVE DAMAGES



         108.   The allegations contained in the foregoing paragraphs are re-alleged and

 incorporated as if fully set forth herein.

         109.   Defendants’ aforementioned conduct has been carried out maliciously,

 willfully, and wantonly, and with a conscious and intentional, or in the alternative,

 reckless disregard for the damage it would cause Guidecraft. Guidecraft is, therefore,

 entitled to an award of punitive damages.



                    COUNT ELEVEN – CLAIM FOR FEES AND COSTS



         110.   The allegations contained in the foregoing paragraphs are re-alleged and

 incorporated as if fully set forth herein.

         111.   Guidecraft is also entitled to attorneys’ fees and costs under the causes of

 action pled above, including without limitation the Lanham Act.




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                                     COUNT TWELVE –

             MOTION FOR PRELIMINARY AND PERMANENT INJUNCTIONS



       112.    The allegations contained in the foregoing paragraphs are re-alleged and

 incorporated as if fully set forth herein.

       113.    Defendants’ actions threaten Guidecraft with irreparable harm if

 Defendants are not enjoined from continuing to unlawfully compete with Guidecraft.

       114.    To preserve the status quo anti-trial and to protect and preserve the rights

 of Guidecraft, an injunction should issue restraining Defendants from continuing to

 unlawfully compete with Guidecraft.



                                   PRAYER FOR RELIEF

       WHEREFORE, having complained of defendants OJCommerce.com, Inc.,

OJCommerce, LLC, Naomi Home, Inc., and Weiss, plaintiff Guidecraft, Inc. prays the

Court find as follows:

        A.     That Defendants be preliminarily and permanently enjoined from using

 Guidecraft’s trademark and copyright, and from unjustly competing against Guidecraft;

        B.     That pursuant to 15 U.S.C. § 1117, Defendants be held liable for all

 damages suffered by Guidecraft resulting from the acts alleged herein, as well as

 special damages permitted under the Lanham Act;

        C.     That the Court award Guidecraft punitive damages as allowed by law;

        D.     That the Court award Guidecraft its costs and attorneys’ fees allowable

 under federal and state law; and



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        E.    That the Court award such other and further relief as this Court may deem

 just and proper.



       This 19th day of September 2018.



                                          s/Richard W. James

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